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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW MEXICO


JUAN CARLOS LEON-HERRERA,
                                                      NO. 2:24-CV-00153-MIS-GJF
         Plaintiff,

vs.

BAR-S FOODS CO. D/B/A SIGMA-FOODS
AND JORGE ZUNIGA ISAIS D/B/A
RVJ TRANSPORT,

         Defendants.




                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that Defendant Jorge Zuniga Isais d/b/a RVJ Transport’s Answers

and Responses to Plaintiff Leon-Herrera’s First Requests for Production, Interrogatories, and

Requests for Admission, along with this Certificate of Service were served via email to Plaintiff,

c/o Jason F. DeSouza at jason@jfdlawfirm.com and Jorge L. Alvarez at jorge@jfdlawfirm.com
both at Desouza Injury Lawyers, on the 13th day of September, 2024.

                                                   Respectfully submitted,


                                                   /s/ Raúl P. Sedillo
                                                   Raúl P. Sedillo
                                                   Sky Willard
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                                                   Attorneys for Defendant Jorge Zuniga Isais
                                                   d/b/a RVJ Transport




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                                  CERTIFICATE OF SERVICE
         I hereby certify that on the 13th day of September, 2024, I filed the foregoing electronically

through the CM/ECF system, which caused the parties or counsel to be served by electronic means,

as more fully reflected on the Notice of Electronic Filing.

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 Jorge L. Alvarez
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/s/ Raúl P. Sedillo
Raúl P. Sedillo




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